Case 0:15-cv-61493-WJZ Document 34-1 Entered on FLSD Docket 01/25/2016 Page 1 of 2



                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                          CASE NO 15-CV-61493-ZLOCH/HUNT
                            FORT LAUDERDALE DIVISION

   KATHLEEN LEE,

         Plaintiff,
   v.

   AAA PEST PROTECTION, INC. and
   WILLIAM ROBLES, individually,

         Defendants.
   _____________________________

        ORDER ON JOINT MOTION TO DISMISS CASE WITH PREJUDICE, TO
        APPROVE SETTLEMENT AND RETAIN JURISDICTION TO ENFORCE


         THIS CAUSE came before the Court upon the parties’ Joint Motion to

   Approve Settlement (the “Motion), filed January 25, 2016.        Upon review of the

   record and the parties’ documented basis for a settlement of the FLSA case, the

   Court finds that settlement of this action is fair and reasonable and that the

   requested fee is fair and reasonable and not grossly excessive. Accordingly, it is

   ORDERED AND ADJUDGED as follows:

         1.     The Motion is GRANTED.

         2.     This case is DISMISSED WITH PREJUDICE.

         3.     The effectiveness of this stipulation of dismissal is conditioned upon

   the Court’s entry of an Order retaining jurisdiction to enforce the terms of the

   Settlement Agreement reached in this case.




                                             1
Case 0:15-cv-61493-WJZ Document 34-1 Entered on FLSD Docket 01/25/2016 Page 2 of 2



         DONE AND ORDERED in Chambers at Fort Lauderdale, Florida, this _____

   day of January 2016.

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                                      WILLIAM J. ZLOCH
                                      UNITED STATES DISTRICT JUDGE
   cc: All Counsel of Record




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